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                             UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA

       v.                                                     Civil Action No. 3:11-CV-00470
                                                                     JWD-RLB
STATE OF LOUISIANA, et al.




MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT BY
                 DEFENDANT, J. THOMAS SCHEDLER



MAY IT PLEASE THE COURT:

       J. Thomas Schedler, in his official capacity as Louisiana Secretary of State (Schedler), filed

a partial motion for summary judgment on what he believes is the only viable issue before the court -

- whether the NVRA agency registration provisions extend to so called “remote” transactions with

“mandatory” voter registration agencies designated pursuant to Section 7 of the Act (52 U.S.C.

20506). This memorandum is submitted in support of the summary judgment motion.




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I.     PROCEDURAL CONTEXT FOR PARTIAL SUMMARY JUDGMENT ISSUE

       On July 12, 2011 the United States as plaintiff filed this action for declaratory and injunctive

relief against the State of Louisiana and several state agencies alleging that the defendants failed to

comply with Section 7 of the National Voter Registration Act (NVRA) 52 U.S.C. 20501, et. seq.

The United States claimed generally that the defendant agencies failed to offer voter registration

services on all occasions and in the manner required by Section 7 of the NVRA (52 U.S.C. 20506).

Named as defendants were the Louisiana Department of Health and Hospitals (DHH) and the

Louisiana Department of Children and Family Services (DCFS) through their agency heads, J.

Thomas Schedler as Louisiana Secretary of State and Chief Elections Official of the State, and the

State of Louisiana.

       In its Complaint the United States pled that prior to July 12, 2011, the defendants’ NVRA

voter registration practices and procedures were in violation of the Act’s agency registration

provisions with respect to offices that provide public assistance and offices primarily engaged in

providing State funded disability services. The public assistance and disability services agencies and

offices are referred to for convenience as “mandatory” voter registration agencies because 52 U.S.C.

20506(a)(1),(2) mandates their designation as voter registration agencies,1 whereas other agencies

and offices, referred to as “optional” agencies, are subject to designation as voter registration

agencies at the State’s discretion under §20506(a)(3).

       Already pending at the time the United States filed suit was a companion case brought in the

Eastern District by a group of private plaintiffs alleging the same NVRA violations in Louisiana with




       1
           Louisiana designated the “mandatory” agencies as such in La.R.S. 18:116(A)(1)(a),(b).

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respect to public assistance offices only.2 Because the NVRA assigns the same voter registration

responsibilities (offering the opportunity to register to vote along with applications relating to

benefits and services offered by the agencies) to public assistance offices and offices primarily

engaged in providing disability services, the issues raised in the two cases are essentially the same.

           Among the issues common to the Scott litigation and the case before this court is a claim that

NVRA voter registration procedures extend to “remote” transactions for benefits and services,

nowhere mentioned in the Act, as well as for “in person” transactions at agency offices, expressly

prescribed as covered transactions under the Act. The Scott case proceeded to decision in the district

court and went up to the Fifth Circuit on appeal by Schedler. However, the Fifth Circuit left the in

person versus remote issue undecided holding that the private plaintiffs lacked standing to make the

claim and the district court lacked jurisdiction to decide it.

           The United States revived the remote transaction question in this case by asserting in its

discovery responses that Schedler’s failure to acknowledge NVRA coverage for remote transactions

constituted a discrete violation of the NVRA. See, Exhibit 1 at p. 6 of 24. Schedler, indeed,

contends that the Act, according to its express terms and by its very structure, applies only to in

person transactions at agency offices. Thus, the issue is ripe for resolution by this court and

susceptible of decision as a matter of law on summary judgment.

II.        STATEMENT OF ISSUES PRESENTED FOR DECISION

           The summary judgment presents the following issues for decision:

           1.     Do the agency registration provisions of Sections 4(a)(3) and Section 7 of the NVRA



           2
        See, Scott v. Schedler, et al, CA No. 11-926 in the district court, No. 13-30185 in the 5th Circuit,
the 5 Circuit decision reported at 771 F.3d 831 (5th Cir. 2014).
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               apply to “remote” transactions at mandatory voter registration agencies?

       2.      Can the courts amend an Act of Congress under the guise of interpretation?

III.   STANDARD FOR SUMMARY JUDGMENT

       Summary judgment is appropriate if the pleadings, depositions, answers to interrogatories,

and admissions, together with the affidavits, if any, show that there is no genuine dispute as to any

material fact and that the moving party is entitled to judgment as a matter of law. Fed. R. Civ. Proc.

Rule 56(C); Celotex Corp. v. Garrett, 477 U.S. 317, 324 (1986).

       Fed. R. Civ. Proc. Rule 56(a), following its 2010 amendment, provides that a party may move

for summary judgment identifying each claim or defense or the part of each claim or defense on

which summary judgment is sought.          The Notes of the Advisory Committee on the 2010

amendments to Rule 56 note that the first sentence of subdivision (a) was added to make clear that

summary judgment may be requested not only to an entire case but also to a claim, defense or part

of a claim or defense, the latter being referred to as partial summary judgment.

       Summary judgment shall be granted where there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law. Thus, when the standard for granting

summary judgment is met, the court must grant the summary judgment under the amended Rule.

       Schedler submits that no material fact is in dispute as to whether the NVRA applies to remote

applications via telephone, on-line, or by mail with public assistance or disability services offices.

Rather, NVRA agency registration requirements are limited to in-person applications at such

designated voter registration offices. Schedler submits that he is entitled to judgment as a matter of

law on that part of the United States’ claim that seeks to extend the agency registration provisions

to “remote” transactions.


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IV.    INTRODUCTORY STATEMENT REGARDING NVRA AGENCY REGISTRATION

       The National Voter Registration Act of 1993 (NVRA) was enacted by Congress on May 20,

1993 and made effective for the State of Louisiana January 1, 1995. Because voter registration is

conducted by the states, the NVRA mandated that states establish registration procedures in addition

to the registration procedures in place when the Act was passed. 52 U.S.C. 20503(a).

       The Act set up three primary programs aimed at increasing the number of registered voters

for federal elections - - the first commonly known as “motor voter” requiring registration

simultaneously with a driver’s license application; the second called “mail registration” providing

for registration by mailing a completed voter registration form to the Parish Registrar of Voters; and

the third referred to as “agency registration” under Section 7 of the Act. 52 U.S.C. 20503(a).

       The “agency registration” provisions of the Act require the states to designate certain

agencies as voter registration agencies. 52 U.S.C. 20503(a)(3)(B) and 20506(a). The designated

agencies have three basic obligations. They must distribute voter registration applications to their

clients, assist in the completion of the voter registration applications, and collect and forward the

completed voter registration applications to Parish Registrars. 52 U.S.C. 20506(a)(4) and (6).

       For agencies and offices that administer public assistance or are primarily engaged in

providing state-funded disability services, the above voter registration services must be offered at

the same time certain prescribed transactions are conducted by the client at the agency office. The

agencies must offer voter registration services along with each application for service or assistance

and along with each of the agency’s recertification, renewal and change of address forms. 52 U.S.C.

20506(a)(6)(A). The client can decline the opportunity to register to vote by use of a form called the

declaration form. The declaration form content is statutorily prescribed and the declaration form


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must be given out to clients with the agency forms. 52 U.S.C. 20506(a)(6)(B).

V.      IN PERSON VERSUS REMOTE TRANSACTIONS UNDER THE EXPRESS TERMS OF
        THE NVRA

        Clear, unambiguous terms of a statute should not be disregarded under the guise of statutory

interpretation. Congress defined the scope of the agency provisions of the NVRA to include in

person applications at offices designated as voter registration agencies under Section 7. The

provisions of 52 U.S.C. 20503(a)(3) expressly limit the coverage of the agency provisions of the

NVRA to “application in person...at federal, state or nongovernmental office designated under

Section 7.” Expansion of the Act to cover so-called “remote” agency transactions (those conducted

by mail, telephone, and online) lies exclusively within the province of Congress, and such an

amendment should not be undertaken by the courts under the guise of statutory interpretation.

        A.      Enactment of the National Voter Registration Act of 1993

        The NVRA was enacted by Congress in 1993 to establish procedures designed to increase

the number of eligible voters in federal elections while protecting the integrity of the electoral

process. Prior to the NVRA, voter registration occurred primarily at traditional voter registration

offices, Parish Registrar of Voters offices in Louisiana. The Act was meant to broaden registration

opportunities by offering registration at offices frequently used by persons who might not otherwise

register at a registrar’s office.

        With the objective of expanding opportunity to register, the NVRA mandated that each state

adopt, in addition to its existing voter registration methods, procedures to register to vote in federal

elections. The registration mandates under the NVRA required states to enact procedures for voter

registration in three areas - - (1) application simultaneously with driver’s license application, (2) mail



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application, and (3) application in person at traditional voter registration sites and at federal, state

or non-governmental offices designated under Section 7 of the Act. See, 52 U.S.C. 20503. With

respect to applications at offices designated under Section 7 of the Act, Congress expressly and

explicitly mandated that voter registration services be offered for applications made in person at the

designated agencies.

        The NVRA is rare among Congressional acts for its specificity. The Act is couched in

particular, concrete terms, at times in excruciating detail, not unlike an instruction manual. It leaves

little room for expansive interpretation as to its meaning and intent.

        B.      NVRA Provisions Defining Transactions Covered by the Act

        The interpretation of a statute or law begins with the express language of the statute. In a

statutory construction case, the beginning point must be the language of the statute, and when a

statute speaks with clarity to an issue, judicial inquiry into the statute’s meaning, in all but the most

extraordinary circumstance, is finished. Cowart v. Nicklos Drilling Co., 112 S.Ct. 2589 (1992); First

American Bank v. Resolution Trust Corporation, 30 F.3d 644 (5th Cir. 1994). In that regard, the

NVRA speaks in clear, unambiguous terms with respect to in person applications at public assistance

and disability services offices. 52 U.S.C. 20503(a)(3) mandates the adoption of procedures for voter

registration in elections for Federal office “by application in person” at public assistance and

disability services offices designated as voter registration agencies pursuant to § 20506.

        The term, “by application in person” is clear and free from any ambiguity. In fact, the plain

language of the Act requires voter registration procedures for in person transactions at public

assistance and disability services offices in such clear terms that only an active imagination could

enlarge Congress’ express meaning to reach other kinds of transactions. “The plain, obvious and


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rational meaning of a statute is always to be preferred to any curious, narrow, hidden sense that

nothing but the exigency of a hard case and the ingenuity of an acute and powerful intellect would

discover.” Lynch v. Alworth-Stephens Co., 267 U.S. 364, 370 (1925).

        Congress’ use of “in person” in defining the kind of applications covered by the NVRA is

not mere surplusage. It is used to delineate a distinct category of transactions covered by the Act,

namely applications in-person at designated offices. In interpreting statutes, “we must read the

statute as a whole, so as to give effect to each of its provisions without rendering any language

superfluous.” Tanuja Sahai Guil Waggoner v. Alberto R. Gonzales, 488 F.3d 632 (5th Cir. 2007).

        By its express terms, the NVRA applies to in person applications at public assistance and

disability services offices. The Act clearly says so.

        §20503. National procedures for voter registration for elections for federal office
              (a) . . . each state shall establish procedures to register to vote in
              elections for federal office.
                                             *    * *
                  (3) by application in person
                                             * * *
                            (B) At a federal, state, or non governmental office
                       designated under section 20506 of this title.

        House Report 103-9 (103 H. Rpt. 9) made it clear that Section 4(a) of the Act (52 U.S.C.

20503(a)) requires States to adopt procedures for registration for federal elections in three areas, (1)

simultaneously with an application for a drivers license; (2) by mail application; and (3) by

application in person, either at an appropriate registration office or at a Federal, State or private

sector location (called “agency registration” in the House Report).

        With respect to “agency registration”, the House Report states at p. 4:

        “Section 4(a) requires that States, in addition to any other methods for voter
        registration provided for under State law, establish procedures to permit voter


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       registration in elections for Federal office: simultaneously with an application for a
       drivers license; by mail application; by application in person, either at an appropriate
       registration office, or at a Federal, State or private sector location (‘agency
       registration’)”. [emphasis supplied]

       The so-called “remote” transactions, on the other hand, are nowhere prescribed in the Act

and would have to be inserted into the Act by force of judicial interpretation, not by a reading of the

Act as written by Congress.

       Moreover, Schedler suggests that the voter registration services mandated in §20506(a)(6)

contemplate a transaction that is conducted at an agency office. §20506(a)(4)(A) states that the

services prescribed in the statute are to be provided “At each voter registration agency . . .”. “At”,

in its ordinary meaning, denotes a physical location or place. As used in the context of the NVRA

registration provisions, it ties services to a particular place. It is not a random term. Had Congress

meant for the agency registration provisions of the NVRA to apply to remote applications, by

telephone, on-line, mail, or other means, it certainly would have chosen other terms to make its

mandate clear.

       The only exception to providing services at the voter registration agency is found in

§20506(a)(4)(B) requiring that voter registration be offered at the home of a person with a disability

if disability services are offered at the home. Again, the Act is structured to provide for in-person,

face-to-face transactions. The at home provision would be entirely superfluous if the Act already

applied to all applications by an agency whether remote or in person. Congress would have had no

reason to speak to a particular category of applications (at a person’s home) if the statute already

covered all applications.

       The Act’s provisions relating to public assistance and disability services offices consistently



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employ “at” to refer to the place where applications are to take place. Again, §20503(a)(3) refers

to applications in-person (A) at the appropriate state law voter registration office, or (B) at a federal,

state, or non-governmental office designated under §20506. When a statute speaks with clarity to

an issue, judicial inquiry into the statute’s meaning in all but the most extraordinary circumstances

is finished. The courts only resort to the rule of lenity and legislative history if the text of a statute

is opaque or ambiguous. Administaf Companies, Inc. v. New York Joint Board, 337 F.3d 454 (5th

Cir. 2003).

        C.      The Very Structure of the Act Makes It Clear that the Agency Registration Provisions
                Are for In Person Transactions

        Even were the language of the Act not so explicit, the structure of the NVRA makes

Congress’ design clear with respect to transactions and activities requiring voter registration by the

designated agencies. In Section 4 (§20503(a)), Congress mandated that states adopt procedures for

voter registration is three areas - - simultaneously with drivers license applications, by mail, and for

in person applications at designated state and federal agencies. Those sections of the Act that follow

Section 4 - - Section 5 (drivers license applications), Section 6 (registration by mail) and Section 7

(in person applications at designated agencies) - - do not expand the covered transactions defined

in Section 4. Rather, Section 5, Section 6 and Section 7 detail procedures to be utilized with each

kind of registration defined in Section 4. The structure of the Act is plain and obvious in that regard,

but to the extent that further explanation is required, the House Report, cited above, makes it

abundantly clear that “agency registration” applies to in person applications at the mandatory

agencies.

        Any other construction of the Act disregards its architecture. The statute begins by defining



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which transactions are covered by the Act. The first category of covered transactions under

§20503(a)(l) is for registration simultaneously with an application for a driver’s license. §20504

then spells out the specific procedures for driver’s license registration. The second category of

covered transaction in §20503(a)(2) is for voter registration by mail application. In parallel, §20505

spells out the requirements for mail registration. The third category in §20503(a)(3) is for

application in person at certain sites and offices. Just as the §20504 and §20505 of the Act define

procedures for motor vehicle and mail registration, §20506 details how applications in person at

designated offices should occur.

          It borders on the absurd to say that Section 7 (§20506) extends covered transactions beyond

the in person transactions defined in §20503 for which the adoption of procedures is required. Such

a construction of the statute would require the states to establish registration procedures for in person

transactions by mandate of §20503(a), yet adopt no procedures at all for “remote” transactions. Such

an anomalous construction of the statute demonstrates the kind of interpretive gymnastics necessary

to incorporate remote transactions into an Act of Congress that makes no mention of such

transactions. “The plain, obvious and rational meaning of a statute is always to be preferred to any

curious, narrow, hidden sense that nothing but the exigency of a hard case and the ingenuity of an

acute and powerful intellect would discover.” Lynch v. Alworth-Stephens Co., 267 U.S. 364, 370

(1925).

          Yet, the United States would commend such an anomalous construction to the court. Its

argument seizes on §20506(a)(6) and uses that provision as an exegetical fulcrum to construe the Act

as a whole. §20506(a)(6) requires that designated voter registration agencies that provide service

or assistance in addition to voter registration services distribute voter registration forms along with


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their service or benefit application forms. Reading that provision in isolation, the United States

reasons that the NVRA must extend to “remote” transactions if the agency’s service or benefits

application form is provided by remote means. That is, the terms of the NVRA must extend to

“remote” applications if remote applications are used by the agency for its other services. But, the

United States construction disregards prior provisions of the Act, namely §20503(a)(3), and the

structure of the Act itself.

        It is §20503 that defines the kinds of transactions covered by the NVRA, and the rest of the

Act details how voter registration services are to be offered for those covered transactions. Reading

§20506 in isolation to extend the agency NVRA obligations to remote transactions turns

interpretation of the Act on its head. The Act must be read as a whole to include §20503(a)(3) as

defining those agency transactions to which the procedures spelled out in §20506 apply, i.e., in

person transactions at agency offices. In interpreting statutes, “we must read the statute as a whole,

so as to give effect to each of its provisions without rendering any language superfluous.” Tanuja

Sahai Guil Waggoner v. Alberto R. Gonzales, 488 F.3d 632 (5th Cir. 2007). Provisions of a statute

are not to be interpreted in isolation but are to be construed with the other provisions of the statute

and read as a whole. Kaluom v. Stolt Offshore, Inc., 504 F.3d 511, 517 (5th Cir. 2007).

        D.      The Procedures That Congress Put In Place for Public Assistance and Disability
                Services Offices Contemplate an In Person, Face to Face Transaction

        Walking through the procedures required for mandatory voter registration agencies in

§20506(a)(6) to consider how they work in practice makes it clear that the procedures contemplate

an in person, face to face transaction.

        For example, §20506(a)(6)(B) prescribes the form, referred to in Louisiana as a declaration



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form, designed to serve as the “writing” by which an applicant can decline the opportunity to

register. §20506(a)(6)(B). See, Exhibit 2.

        The required declaration question, expressly mandated by §20506(a)(6)(B)(i), is,

        “If you are not registered to vote where you live now, would you like to apply to register to
        vote here today?”

        The declaration question asks the potential applicant if you want to register “here today”.

The use of “here today” implies a temporal and physical component to the voter registration option.

The transaction contemplated by the statute is an “in person” transaction at an agency office when

the applicant is present at the office.

        The statutorily required declaration form is unworkable with remote transactions because the

language contained on it has no meaning to an applicant completing an application by mail,

telephone or online at some other time and some other place. The declaration becomes nonsensical

in the context of remote applications. The applicant is not “here today” so what can he or she make

of the question - - and what does the agency make of the applicant’s answer?

        Applying agency registration provisions to anything other than “in person” applications

would render the declaration form meaningless. The declaration question, “would you like to

register to voter here today?” on a telephone application does not make sense in the context of a

remote transaction. Yet the NVRA expressly mandates that question, in those terms.

        And how would the remote applicant decline “in writing” in response to the voter registration

question by telephone or online? If the voter received a declaration form and checked the box

declining to register “here today”, what would the declaration mean by the time the return mail

arrived back to the agency? It is evident from the declaration question, “would you like to register



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to vote here today?”, that Congress never contemplated that the agency registration provisions of the

NVRA would be applicable to anything other than “in person” applications at agency offices - - a

particular locale, i.e., an agency office or an applicant’s home, at a particular time, i.e., the day that

the application for services or benefits is being completed.

        Apart from the fact that the “here today” choice makes no sense, the form cannot be marked

or signed by the applicant over the phone, by mail, or online. For the provisions of the Act to work,

the applicant, the agency staff member, and the forms have to be in the same room.

        The agency registration provisions in §20506(a)(4)(A)(ii) also mandate that agencies provide

assistance to the applicant in completing the voter application forms unless the applicant declines

assistance. How does the agency assist the applicant in completing the form, say in a mail

transaction? Does the agency give a phone number with no guarantee that an overworked and

understaffed agency will answer the call timely? Does the agency put out a recorded message with

standard instructions for completing the form but without any opportunity for the applicant to speak

to a person and ask questions about the voter registration option? This failure to offer assistance

with voter registration unless declined would constitute a violation of the assistance obligation that

cannot be addressed in remote transactions.

        The same is true for online transactions. Can the agency have staff available to assist

applicants around the clock if the applicant accesses the agency website to register outside office

hours? The assistance obligation mandated by §20506 is not something that can be accomplished

in a computer transaction. Again, does the agency give a phone number that may or may not be

answered while the applicant is online trying to fill out the application form?

        Moreover, in person transactions in which an applicant and an agency representative have


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a face to face exchange are inherently different from remote transactions. The difference is

explained in another context in an excerpt from a recent interview with Charles Simonyi, a leading

software developer, on the difficulty in developing software.3

        “Today, most of the information we exchange is expressed in English. There’s
        nothing wrong with English as one form of expression. The problem with English is
        that it has been shaped by evolution to work between human beings, and mostly in a
        face-to-face or a conversational sense. You know how difficult it is to write and be
        clear when you are not in a conversation, like you and I are right now. If I were to
        mumble or say something ambiguous, we could resolve it with a question and an
        answer. When you are writing, you don’t have that luxury of interaction with your
        reader.”

        Face to face an applicant and an agency representative can resolve any confusion about the

declaration form, about its meaning and significance through conversation. By the same token, the

agency representative is able to offer assistance and help the applicant fill out the voter registration

form. The completed form can then be handed to the agency representative for mailing to the Parish

Registrar.

        In person transactions are so fundamentally different from remote transactions that a different

set of instructions on how to conduct voter registration for agency applications would be required

with remote transactions. Different procedures must be developed to make remote transactions

work. If the agencies try to make the NVRA agency provisions work for remote transactions, they

will be unable to do so and will be in perpetual violation of the statute.

        Schedler does not argue that workable procedures for remote transactions cannot be devised.

He thinks that they can. The procedures for remote would be different from those Congress put in

place for in person transactions. But, that is not the question to be answered in this case. The issue



       3
           James Fallows, Tech, Why is Software So Slow?, The Atlantic, September 2013, p.28.

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is whether the NVRA, as presently written, includes remote transactions.

        E.      Rewriting a Statute is a Job for the Congress, Not the Courts

        The United States’ construction of the Act sacrifices the express provisions of the Act to its

objectives. Congress adopted a statute in specific, concrete terms. In crafting the Act, Congress

undoubtably balanced interests, considered policy, took costs to the states into account and from its

deliberations wrote the Act in terms to reflect the Congressional balance of interests and policy. The

Act says in plain language that states must adopt procedures for in person transactions at designated

voter registration agencies. Congress could have provided that states must adopt procedures for

remote transactions with designated voter registration agencies, but it did not do so. It made a

different choice as reflected in the statute’s language. This is a choice by Congress that should not

be undone by the courts. The Fifth Circuit is clear on construing statutes as a whole according to the

language used by Congress. As in any case of statutory interpretation, this Circuit looks to the plain

language of the statute “reading it as a whole and mindful of the linguistic choices made by

Congress”. In Re Universal Seismic Associates, Inc., 288 F.3d 205, 207 (5th Cir. 2002)

        The courts are not the appropriate body to extend NVRA coverage to “remote” transactions

no matter how laudable the court’s intentions may be, no matter how much the courts think the

alteration of the statute might be desirable. Rewriting a statute is a job for Congress, not for the

courts. Gonzales v. Arizona, 453 F.Supp.2d 997, 1003 (D. Arizona 2006). It is not the function of

the courts to reformulate a statute in pursuit of its purpose or in light of changing realties.

        Deciding what competing values will or will not be embodied in a statute in order to achieve

a societal objective is the essence of legislative action. Congress uses particular language in a statute

to reflect the choices that it makes on how to best achieve those objectives. It frustrates legislative


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intent to assume simplistically that whatever furthers the statute’s primary objective must be the law.

Norfolk Southern Railway Co. v. Sorrell, 549 U.S. 158, 171 (2007); Rodriguez v. United States, 480

U.S. 522, 525-526 (1987).

        Whether and how to change and amend laws is developed through the legislative process

taking into account demographic data, the collective experience of the states, the availability of other

methods of registration, input from citizens and organizations, consultation with experts,

comparative methods in other democratic countries, and other relevant considerations. Expanding

the coverage of the NVRA through judicial action takes the courts pretty deep in the weeds of

lawmaking without the benefit of the tools available to and traditionally utilized by the political

branches in enacting laws.

        Undoubtedly, remote transactions, particularly online, have proliferated since the adoption

of the NVRA in 1993, and there may be strong arguments in favor of petitioning Congress to amend

the law. Congress is certainly aware of electronic transactions. It has modernized other voting and

registration statutes to cover electronic transactions, as for example with military registration and

balloting in 52 U.S.C. 20302. But, whether amending the NVRA to cover “remote” transactions is

a good idea, Congress has not done so to this point. This does not mean that the courts should take

up the cudgel and do Congress’ job.

                                          CONCLUSION

        For the foregoing reasons, Schedler submits that the Court should grant partial summary

judgment, limiting the plaintiff’s claim for declaratory and injunctive relief to transactions conducted

in person at voter registration agencies designated under Section 7(a)(1-2) of the National Voter

Registration Act and dismissing that part of the plaintiff’s claims relating to so called “remote


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applications” by telephone, on-line, or by mail.

                                              RESPECTFULLY SUBMITTED,

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the “Memorandum in Support of Motion For Partial
Summary Judgment by Defendant, J. Thomas Schedler” has been electronically delivered, via the
electronic filing system or U.S. Mail, to the following counsel of record:


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       Baton Rouge, Louisiana, this 25th day of January, 2016.

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